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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA
 GROUNDFISH FORUM, INC.,

              Plaintiff,                          Case No.: 3:23-cv-00283-SLG
       v.

 NATIONAL MARINE FISHERIES
 SERVICE; NATIONAL OCEANIC AND
 ATMOSPHERIC ADMINISTRATION;
 GINA RAIMONDO, in her official capacity
 as the United States Secretary of Commerce;
 and JANET COIT, in her official capacity as
 Assistant Administrator, National Oceanic
 and Atmospheric Administration,

              Defendants.


                            PLAINTIFF’S REPLY BRIEF

                                (Local Civil Rule 16.3)




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                               Table of Abbreviations

ABM                 Abundance-Based Management

ABM Workgroup North Pacific Fishery Management Council’s Abundance-Based
              Management Workgroup

APA                 Administrative Procedure Act

BSAI                Bering Sea and Aleutian Islands Management Area

CDQ                 Community Development Quota

Council             North Pacific Fishery Management Council

EIS                 Environmental Impact Statement

FMP                 Fishery Management Plan

Groundfish FMP      Fishery Management Plan for Groundfish in the Bering Sea and
                    Aleutian Islands Management Area

IPHC                International Pacific Halibut Commission

MSA                 Magnuson-Stevens Fishery Conservation and Management Act

NEPA                National Environmental Policy Act

NMFS                National Marine Fisheries Service

PSC                 Prohibited Species Catch

SSC                 Scientific and Statistical Committee




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                                      I. INTRODUCTION

             The common theme uniting the briefs of Federal Defendants (“NMFS”) and

Intervenors (collectively, “Defendants”) is their reliance on post-hoc revisionist history.

However, “courts may not accept . . . counsel’s post hoc rationalizations for agency

action.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 50 (1983). The “focal point for judicial review is the administrative record” and

the “court may not substitute reasons for agency action that are not in the record.” Ariz.

Cattle Growers’ Ass’n v. U.S. Fish & Wildlife, 273 F.3d 1229, 1236 (9th Cir. 2001)

(quotation marks and citation omitted). Defendants’ post-hoc arguments cannot stand.

             But before addressing Defendants’ legal arguments, Plaintiff pauses to address

some of the anti-trawl rhetoric and half-truths that litter Defendants’ briefs. Although

most are extraneous to the legal issues, a few of those comments merit a brief response.

         First, Defendants and amici tout the public process leading to Amendment 123.

See, e.g., Dkt. 41-1 (“NMFS Br.”) at 28. 1 But as detailed infra at pages 15-20, the record

shows a decided lack of transparency. The State of Alaska representative on the Council

developed the decision to single out the Amendment 80 fleet behind closed doors and

presented it for a Council vote “without notice” to the public—despite recognizing that

“it just doesn’t seem like the right thing to do.” NOAA035110.

         Second, Defendants repeatedly accuse the Amendment 80 sector of “wasting”

halibut. See, e.g., NMFS Br. at 9; Dkt. 39 (“Intv. Br.”) at 1. The Amendment 80 sector


         1
             Original page numbers, rather than blue docket page numbers, are used in this
brief.

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lawfully operates in the regulatory context that NMFS created. Although the fleet has

dramatically reduced halibut mortality over almost two decades, Amendment 80 vessels

cannot fish for target species without catching some halibut. Dkt. 26 (“Plaintiff Br.”) at

6-7; NOAA003873. They cannot sell or even donate those incidentally caught fish

because NMFS mandates they be thrown back. 50 C.F.R. §§ 679.21(a)(2)(ii), 679.26.

Any “waste” is therefore NMFS’s own doing.

       Third, NMFS claims that “[a]though trawl fishing is highly effective, it is less

capable of distinguishing between target and non-target species than other forms of

fishing (e.g., hook and line).” NMFS Br. at 8. That is false. In 2021, trawl fisheries off

Alaska had a 2% bycatch rate whereas hook-and-line fisheries had a 17% bycatch rate

and groundfish pot fisheries had a 3% bycatch rate. See NOAA059421.

       Fourth, Intervenors suggest that the “halibut stock declined by as much as 70%

during the period from 1992 to 2010” as a result of bycatch. Intv. Br. at 5. However,

“[t]he spawning stock biomass of Pacific halibut in the 1990’s was the highest seen in

many decades” and declines from that “unusually high” level are “largely a result of

decreasing size-at-age, as well as somewhat weaker recruitment strengths than those

observed during the 1980s.” NOAA004594; NOAA006858; NOAA006948. The stock

has been stable from 2011 through 2023. NOAA000495; NOAA053020-21.

       Fifth, contrary to Intervenors’ insinuations, the directed halibut fleet (not the

Amendment 80 sector) is by far the “largest component of mortality” of halibut.

NOAA018716-17. In 2021, directed halibut fishing was responsible for 65% of all

halibut mortality whereas all bycatch (not just the Amendment 80 sector) was responsible

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for 10%. NOAA059424. The directed halibut fleet also has the “largest effect on

spawning biomass” (NOAA018716), which is due to the fact that the directed halibut

fleet kills almost exclusively sexually mature females—as much as 92% in Area 4CDE

alone. NOAA018717; NOAA018944; NOAA006947-48.

       Finger pointing aside, NMFS has violated the MSA and NEPA in approving

Amendment 123. NMFS’s unlawful decisions must be vacated.

                                    II. ARGUMENT
A.     Amendment 123 Improperly Allocates All Abundance-Based Bycatch
       Restrictions Only to the Amendment 80 Sector.
       1.     Amendment 123 Is an Allocation.

       NMFS wrongly argues that National Standard 4 is irrelevant because PSC limits

are not “fishing privileges” and therefore not “allocations.” NMFS Br. at 13. NMFS’s

EIS states that “halibut PSC” limits are “fishing privileges.” NOAA004140. And

NMFS’s new regulations set the “Amendment 80 Program annual harvester privileges,”

50 C.F.R. § 679.91 (emphasis added), and those privileges include the “amount” of

“Allocations of halibut PSC” to the Amendment 80 sector, id. § 679.91(d)(1). See id. §

679.21(b)(1)(i)(C) (“[f]or Amendment 80 cooperatives and the Amendment 80 limited

access fishery, BSAI halibut PSC limits will be allocated according to the procedures and

formulas in § 679.91(d)”). Amendment 123 is an allocation of fishing privileges.

       NMFS blows past its regulations and EIS, arguing that “by definition” a PSC limit

is not a “fishing privilege.” NMFS Br. at 13. By what definition? The MSA defines

“fishing” as “the catching, taking, or harvesting of fish” and “any other activity which

can reasonably be expected to result in the catching, taking, or harvesting of fish.” 16

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U.S.C. § 1802(16). Bycatch is a form of fishing. “Bycatch” refers to “fish which are

harvested in a fishery, but which are not sold or kept for personal use, and includes …

regulatory discards.” Id. § 1802(2). The MSA does not define “privilege,” but the word

commonly means: “A special legal right, exemption, or immunity granted to a person or

class of persons; …. A privilege grants someone the legal freedom to do or not to do a

given act. It immunizes conduct that, under ordinary circumstances, would subject the

actor to liability.” Privilege, Black’s Law Dictionary (12th ed. 2024).

       Halibut PSC plainly is a “fishing privilege”—just as any other harvesting quota or

limit. See 50 C.F.R. §§ 679.2 (defining “cooperative quota (CQ)” for the Amendment 80

program to include “the annual halibut … PSC”), 679.91(h)(3)(vi) (“Is this CQ an

exclusive catch and use privilege? Yes …”). The grant of a PSC limit makes the catching

of halibut lawful, thus immunizing the Amendment 80 sector to liability. NOAA035282.

If the halibut PSC limit is reached in a given year, then all fishing must cease. Thus,

NMFS’s “fishing privilege” argument is dead in the water, and the analysis can end there.

       NMFS tries to shore up its lead argument with the red herring that “halibut

[directed fishing] allocations are not governed by the MSA” and are thus irrelevant.

NMFS Br. at 14. This just avoids Plaintiff’s primary argument that the modification of

halibut PSC limits itself is an “allocation”—as it was in Amendment 111—regardless of

impacts to directed halibut fisheries. Plaintiff Br. at 12-14. As NMFS explained in the

Amendment 111 rulemaking: “Because halibut PSC limit reductions could potentially

constrain harvest of groundfish [total allowable catches], the proposed action would be an

allocation of fishing privileges and must be consistent with National Standard 4.”

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NOAA036973-74. In fact, Amendment 123 started from the position that the new

abundance-based program would retain Amendment 111’s “status quo allocations” of

PSC among the groundfish sectors. 2 NOAA0039133; NOAA040145 (assuming “that the

allocation of the PSC limit between groundfish trawl sectors would remain the same”);

NOAA0042161 (preliminary draft EIS describing how PSC “would be allocated” to

sectors to maintain status quo). But the decision to single out the Amendment 80 sector

for PSC limit reductions substantially changed those “status quo allocations.”

       Besides, even Intervenors disagree with NMFS’s red herring argument, as they

admit that halibut bycatch mortality is directly “‘taken off the top’” of the harvest levels

set for the directed halibut fishery by the IPHC (Dkt. 10 at 10-11) and, thus, they assert,

“PSC limits established for Amendment 80 are a de facto allocation of the halibut

resource” (NOAA059670). And while NMFS wants to dismiss the allocative impacts as

merely incidental or indirect, the “Purpose and Need” includes providing “additional

opportunities for the directed halibut fishery,” NOAA003907, and “the direct effect of

reduced PSC limits is increased catch limits for directed halibut fishing,” NOAA042367

(emphasis added). In short, whether it is an allocation of PSC among groundfish sectors

or an allocation to the directed halibut fishery, “in the end, . . . ABM is really another

allocative decision.” NOAA0035138 (Council member Baker); NOAA035106 (ABM is



       2
        NMFS’s only response to the obvious about-face from Amendment 111 to
Amendment 123 on whether assignment of halibut PSC is an “allocation” is that NMFS
“has not implemented a policy change.” NMFS Br. at 14. This is legally insufficient.
Organized Vill. of Kake v. U.S. Dep’t of Agric., 795 F.3d 956, 966 (9th Cir. 2015) (when
reversing a policy, an agency must display “‘awareness that it is changing position’”).

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“ultimately an allocation issue”); NOAA035101 (“ABM is primarily an allocative

action”); NOAA004140 (Amendment 123 “allocate[s] fishing privileges”).

       Finally, NMFS tries to evade Required Provision 14 by arguing it applies only to

“rebuilding plans for overfished stocks and similar measures.” NMFS Br. at 15. But that

provision also applies to “conservation and management measures which reduce the

overall harvest in a fishery.” 16 U.S.C. § 1853(a)(14). The Ninth Circuit determined that

Required Provision 14 applies to bycatch measures that reduce harvest. Yakutat, Inc.,

Inc. v. Gutierrez, 407 F.3d 1054, 1059 (9th Cir. 2005). And NMFS itself determined that

because reduced halibut PSC limits operate as a hard cap, the Amendment 80 sector

could experience losses from reduced harvest of more than $100 million annually. See

NOAA053057-60; NOAA003892 (Table ES-1-8). 3

       In sum, NMFS’s failure to treat Amendment 123 as an allocation, and its complete

and unexplained reversal from Amendment 111, is arbitrary, capricious, and contrary to

law. This fundamental error infected the entire decision and alone is grounds for vacatur.

       2.     Amendment 123 Is Not Fair and Equitable.

       NMFS argues that, even if Amendment 123 is an allocation, it is “inherently fair

and equitable.” NMFS Br. at 16. NMFS’s post-hoc arguments for why Amendment 123



       3
         NMFS also contends that Required Provision 14 is merely procedural, citing
Guindon v. Pritzker, 240 F. Supp. 3d 181, 200 (D.D.C. 2017). NMFS Br. at 15. But
Guindon appears to presume it is procedural, and that presumption is wrong. Required
Provision 14 imposes a substantive obligation to “allocate . . . harvest restrictions …
fairly and equitably.” 16 U.S.C. § 1853(a)(14). Even so, NMFS procedurally conducted
no assessment of relative benefits and burdens of its allocation among groundfish sectors.
See Plaintiff Br. at 14-16.

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satisfies National Standard 4—despite its assertion that Amendment 123 is “not an

allocation” subject to National Standard 4—have no support in law or fact.

       NMFS has a “statutory duty to explain” in the record “how the amendment

comports with National Standard 4.” Groundfish Forum v. Ross, 375 F. Supp. 3d 72, 91

(D.D.C. 2019). In so doing, NMFS follows its MSA National Standard Guidelines, which

explain: “An FMP may contain management measures that allocate fishing privileges if

such measures are necessary or helpful in furthering legitimate objectives or in achieving

the OY, and if the measures conform with paragraphs (c)(3)(i) through (c)(3)(iii) of this

section.” 50 C.F.R. § 600.325(c) (emphasis added). Specifically, the Guidelines instruct

that NMFS “may impose a hardship on one group if it is outweighed by the total benefits

received by another group or groups” and this requires “an initial estimate of the relative

benefits and hardships imposed by the allocation.” Id. § 600.325(c)(3)(i)(B). NMFS must

show its work in reaching those conclusions, including a “discussion” of “[a]llocation

schemes considered, but rejected.” Id. § 600.325(c)(2).

       Plaintiff demonstrated that the record contains none of those required analyses.

Plaintiff Br. at 14-16. NMFS has no answer. Nowhere in the record does NMFS explain

why the hardship imposed on the Amendment 80 sector is “outweighed” by the benefits

to other groundfish sectors or even identify what the benefits are to those other sectors.

That alone is fatal under National Standard 4.

       With no record, NMFS argues that Amendment 123 is “inherently” fair and

equitable because the Amendment 80 sector “is responsible for the majority of the PSC

mortality.” NMFS Br. at 20. But this does not explain why it is fair and equitable to

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single out one sector to the exclusion of all other sectors. Those other sectors have

substantial halibut PSC allocation percentages that are not constrained in times of low

abundance. NOAA035288. NMFS’s Assistant Regional Administrator for Sustainable

Fisheries raised this very question, but it goes unanswered in the record:

              First, as I noted on the purpose and need statement issues, I
              am concerned that we are narrowing the scope of this action,
              so that we are focusing our abundance based response only on
              one sector. Although that sector may be responsible for
              approximately 60% of the total bycatch mortality, that leaves
              the other 40% that aren’t being held to the same standard and
              that would not flex or change with abundance. I do think it
              will be appropriate for this Council when this issue comes
              back to reexamine whether or not our purpose and need
              statement is still appropriate and the potential equities that
              creates between the various sectors.

NOAA0053003 at 3:46:30. NMFS’s failure to address the issue is particularly arbitrary

given that Amendment 111 equitably reduced PSC levels across all four groundfish

sectors. NOAA036973-74. By failing to consider the fairness of proportionately changing

the halibut PSC allocations, NMFS “entirely failed to consider an important aspect of the

problem.” State Farm, 463 U.S. at 43. 4

       NMFS and Intervenors both contend that singling out the Amendment 80 sector

was fair because NMFS could address the other sectors later, in separate decisions. But if

NMFS wants to pick winners and losers by allocating PSC limits, it can only impose a



       4
         NMFS also argues that the allocation between the Amendment 80 sector and the
directed halibut fishery (an allocation which it denies occurred) is fair and equitable. See,
e.g., NMFS Br. at 19-21. NMFS provides no record citations for those claims, much less
an analysis performed under 50 C.F.R. § 600.325(c)(2). Besides, the EIS concluded that
this action results in a net negative economic benefit to the nation. NOAA004078.

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“hardship on one group” (here, the Amendment 80 sector) “if it is outweighed by the total

benefits received by another group.” 50 C.F.R. § 600.325(c)(3)(i)(B). NMFS cannot punt

its obligation to comply with the statutory mandate that every allocative action “shall be

[] fair and equitable” by saying that it may (or may not) take some future action that may

(or may not) make its present action more (or less) equitable. 16 U.S.C. § 1851(a)(4)

(emphasis added). 5

       NMFS tries to fill the National Standard 4 gap by cobbling together an argument

based on the National Standard 1, 8, and 9 analyses in the record. See NMFS Br. at

16-19. But the D.C. district court rejected nearly identical arguments, explaining that the

court is “limited to the rationale put forth by” NMFS in the record and “‘may not accept

… counsel’s post hoc rationalizations for agency action.’” Groundfish Forum, 375 F.

Supp. 3d at 91 (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at 50). In so doing, the court

rejected NMFS’s “argument that the socio-economic benefits identified for purposes of

National Standard 8 are a sufficient substitute for the Service’s obligation to provide a

rational explanation of how [the amendment] is consistent with the requirements of

National Standard 4.” Id. at 92. NMFS made the same error here.

       Finally, it bears emphasis that there is nothing “inherently” fair or equitable about

singling out one fishing sector for economically damaging restrictions without rationally

explaining the reason for doing so and without even considering the possibility of sharing



       5
         Intervenors detour into non-MSA cases to argue that agencies “do not ‘have to
regulate a particular area all at once.’” Intv. Br. at 14. The MSA is different because it
mandates that all allocations “shall be” fair and equitable. 16 U.S.C. § 1851(a)(4).

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the burden of those restrictions across the sectors in the same fishery (as was done in

Amendment 111). NMFS’s failure to comply with National Standard 4 violates the MSA.

       3.     Amendment 123 Is Not Reasonably Calculated to Promote
              Conservation.

       NMFS and Intervenors argue that Amendment 123 promotes conservation for the

simple reason that it reduces halibut bycatch. They miss the point. The critical inquiry is

not whether a particular regulation promotes conservation in the abstract, but whether an

“allocation scheme” promotes conservation by, for example, “encouraging a rational,

more easily managed use of the resource” or “optimizing the yield in terms of size, value,

market mix, price, or economic or social benefit of the product.” 50 C.F.R.

§ 600.325(c)(3)(ii). Again, the record contains no § 600.325(c)(3) analysis or otherwise

explains why the allocation scheme chosen here—i.e., imposing abundance-based limits

on a single sector to the exclusion of other sectors—promotes conservation in either the

halibut fishery or the groundfish fishery.

       Without record support of its own, NMFS instead accuses Plaintiff of “cherry

pick[ing]” the record. NMFS Br. at 23. But the tree is full of cherries. For example, the

modeling performed to support Amendment 123 showed that “the implementation of

abundance-based management of halibut PSC is an allocation decision rather than a

conservation decision.” NOAA041940. The SSC critically reviewed the model and

expressly agreed with that conclusion. NOAA042542. NMFS does not dispute these

facts, but says they are taken out of context. Here is the context: after the modeling

results showed that abundance-based management for all sectors had no conservation


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benefit, the Council discarded the model, deleted the discussion from the draft EIS, and

inexplicably pivoted to options that singled out the Amendment 80 sector for restrictions.

Plaintiff Br. at 2-4. As the EIS itself explains, “[t]here is likely to be little difference

among the average future halibut spawning biomass under levels of PSC anticipated

across all of the alternatives, including the no action alternative.” NOAA003894;

NOAA035138 (Council member Baker stating that directed halibut users “have muddied

the water by saying that ABM is necessary for conservation of the halibut resource,

which the available information just does not support.”); NOAA035101 (similar).

       Thus, the action alternatives merely “reallocate halibut from one user group to

another with no real conservation benefit” (NOAA055162), and Amendment 123 violates

National Standard 4 for this additional reason. Groundfish Forum, 375 F. Supp. 3d at 89

(an “allocation must actually ‘promote’ a conservation purpose”); Sustainable Fisheries

Coal. v. Raimondo, 589 F. Supp. 3d 162, 172 (D. Mass. 2022) (“potential” and contingent

“biological benefits” provide “lackluster support for … conclusion that the final rule

promotes conservation”).

B.     The Bycatch Reduction Measures Imposed by Amendment 123 Are
       Impracticable and Improperly Intended to Allocate.

       Plaintiff identified two independent ways that Amendment 123 violates National

Standard 9 and Required Provision 11. First, Plaintiff showed that “Congress [did] not

intend” that bycatch reduction measures “will be used to allocate among fishing gear

groups,” 142 Cong. Rec., H11437 (1996), and that NMFS therefore violated the MSA

because Amendment 123 is intended to, and does, shift allocations from the Amendment


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80 sector to the directed halibut fishery at enormous expense to the Amendment 80 fleet.

Plaintiff Br. at 20. NMFS concedes this argument in silence.

       Second, Plaintiff demonstrated that Amendment 123’s reduced PSC limits are not

“practicable” because the record shows that the Amendment 80 sector is currently using

all available tools to the fullest extent possible and there are no new tools available. See

Plaintiff Br. at 21-22. NMFS responds with misdirection, pointing to the tools created and

fully implemented as a result of Amendment 111. NMFS Br. at 24. NMFS says that

Amendment 123 (which imposes PSC limit reductions of up to 35% below Amendment

111) is also “practicable thanks to implementation” of those same tools. Id. But the

record says the opposite, explaining that the existing measures could not practicably

achieve those results and estimating annual losses (due to foregone harvest) of more than

$100 million in low-abundance years. NOAA003899. 6 The record also shows that “all

PSC reduction tools (e.g. excluders and decksorting) are currently being maximized,”

NOAA060247, and that any “substantial reductions” in halibut mortality would have to

come from “the development and implementation of new technologies” that presently do

not exist. NOAA004176. Unidentified future technologies that do not exist are not

“practicable” bycatch measures, and the EIS agrees. NOAA004088 (EIS explaining that

future “technologies” are “speculative” and “not practicable”).


       6
          NMFS and Intervenors argue that the $100 million-plus in losses estimated in the
EIS is a “worst case” estimate. NMFS Br. at 19; Intv. Br. at 22-23. But the record shows
that this estimate is on the upper bound of expected costs and that while the industry
might be able to mitigate the costs, the “extent” of mitigation is “unknown” because “a
key unanswered question is how close the A80 sector is to the point of diminishing
returns in halibut PSC mitigation.” NOAA004076.

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       NMFS tries to whitewash its Amendment 111 conclusion that “greater reductions

were not practicable” (NOAA000515) as merely a “suggested” finding. NMFS Br. at 24.

This was not a suggestion. In Amendment 111, the “Council concluded that larger

reductions are not practicable” and the “rationale the Council and NMFS used for

concluding that larger reductions in PSC limits are not practicable is described in the

preamble to the proposed rule.” NOAA000511 (emphases added). If NMFS wants to

reach a different conclusion this time, it must acknowledge that it is changing its position

(which it has not done) and provide facts in the record to support that change (which it

also has not done). Organized Vill. of Kake, 795 F.3d at 968. 7

       Next, NMFS cites NOAA001155 to argue that Amendment 123 is practicable

“because the Amendment 80 sector is not fully utilizing existing halibut avoidance tools.”

NMFS Br. at 25. But no such determination appears at NOAA001155 (or anywhere in the

record). That citation is to a summary of a public comment (by halibut fishermen)

disparaging the Amendment 80 sector. NOAA001155. NMFS also references

NOAA004613, but that citation also does not support NMFS. There, NMFS says that

“[r]eductions in halibut mortality are expected to result from the sector increasing costs,




       7
          Intervenors argue that greater reductions must be possible because the
Amendment 80 sector currently fishes below its PSC limit. Intv. Br. at 19. This is
misleading and not a rationale asserted by the agency. The sector intentionally fishes
below its limit (at a significant economic loss) “due to a wide range of operational
factors, including the fleet’s desire to avoid a closure or an enforcement action if a PSC
limit is reached.” NOAA000449. A mid-season closure would be economically
devastating and cause serious market disruptions, so the fleet must operate well below
any PSC limit to avoid those results. Cf. NOAA053003 at 31:00-32:00, 59:00-1:01:00.

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reducing efficiency, and improving the use of existing tools” (with no discussion or

evidence how those improvements would occur). NOAA004613 (emphases added). 8

       Lastly, NMFS says that “Plaintiff does not claim to have lost any actual money

due to the Rule, nor does it explain why its members are not fully utilizing the existing

tools.” NMFS Br. at 26. The MSA does not require Plaintiff to prove a negative. Rather,

NMFS has a “statutory duty to explain”—in the record—“how the amendment comports

with” the MSA. See Groundfish Forum, 375 F. Supp. 3d at 91. Plaintiff told NMFS, in

the administrative record, that its members were fully using all existing tools, there were

no new tools available, and some member companies may not survive under the lower

PSC limits. NOAA053060. NMFS cites no contrary explanation or evidence in the

record. Failure to comply with a statutory duty is not an “‘idle and useless formality,’” as

NMFS suggests. NMFS Br. at 26. NMFS failed to comply with National Standard 9.

C.     Amendment 123 Violates NEPA.

       NMFS claims it limited Amendment 123 to one sector as the “normal result of the

scoping process” and “based on meaningful dialogue with members of the public.”

NMFS Br. at 27 (quotation marks and citation omitted). NMFS claims it “did not single

out the Amendment 80 sector” or “‘retrofit’ the purpose and need statement to match that

decision,” but merely dropped the multi-sector alternatives from the EIS because they

were “too complex” and in response to “public testimony regarding ways to streamline


       8
         Intervenors claim the “needed reductions are readily achievable,” but support
that statement only with gratuitous citations to their own comment letter. Intv. Br. at 21
(citing NOAA003205-06, NOAA3264-75, NOAA3293-94). Additionally, the article
referenced in note 8 on the same page does not even involve an Amendment 80 vessel.

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and simplify the action.” NMFS Br. at 27-29. This revisionist history is directly

contradicted by the administrative record. What actually occurred is summarized below.

       In April 2016, the Council “unanimously adopted a purpose and need statement to

establish abundance-based halibut PSC limits for the BSAI groundfish fisheries”

(meaning all of the sectors). NOAA035258 (emphasis added); see NOAA038674-708.

The Council focused on “potential implications of abundance-based halibut PSC

allocations using the proportional allocations to the four sectors defined under

Amendment 111 as the basis.” NOAA038894; see also NOAA038900-02.

       In December 2017, NMFS published its notice of intent to prepare an EIS, which

included the purpose and need statement. NOAA035256-59. The notice describes the

“proposed action” as establishing abundance-based halibut PSC limits for the “Federal

groundfish fisheries prosecuted in the BSAI using trawl and non-trawl (fixed) gear.”

NOAA035258. In March 2018, the ABM Workgroup produced a detailed report

analyzing various abundance-based “allocations” across all four primary groundfish

sectors. NOAA040445-82. In October 2018, the Council reiterated the need to evaluate

the effects of the allocations on the four sectors. NOAA040849.

       Consistent with that direction, the September 2019 preliminary draft EIS

(NOAA041691) analyzed abundance-based bycatch measures on all the “groundfish

fisheries.” NOAA041713-14. The draft contained 16 total alternatives

(NOAA041702-03)—all “designed to accomplish the stated purpose and need” and

applicable to all four primary groundfish sectors. NOAA041731-58.



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       At its October 2019 meeting, the Council discussed whether and how the 16

alternatives could be simplified. See NOAA053000 (audio). The entire discussion on that

topic focused on how to reduce the existing alternatives. There was no discussion about

reducing the scope of the action by removing sectors. NOAA053001 at 8:53:54-8:57:19;

see NOAA042621.

       The Council discussed the 16 alternatives in December 2019, with a staff member

noting that the analyses “would certainly be easier to understand if there were less”

alternatives. NOAA053002 at 8:07:58; see also id. at 8:11. They discussed “reducing the

number of alternatives.” Id. at 8:19, 8:25-8:34. There was no mention of removing

sectors. The Council passed a motion requesting “stakeholder input on additional

management alternatives that serve to streamline the action and meet the Council’s

objectives to establish abundance-based PSC limits.” NOAA043065; see NOAA053002

at 8:52:30 (State of Alaska representative Rachel Baker).

       The Council met again on February 1, 2020, but in the evening of January 31,

2020, things were already happening behind the scenes. Ms. Baker sent an email to

Council Chair Simon Kinneen, saying: “I’m rethinking the decision to remove all sectors

except Amendment 80 in the current ABM analysis. It’s a really big shift without notice

. . . . I tend to be a pretty cautious person so may be overthinking it, but it just doesn’t




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seem like the right thing to do.” NOAA035110 (emphases added). This email is the first

mention in the record about any “decision” to “remove all sectors” but Amendment 80. 9

       Ms. Baker sent two more emails later that evening. In the first, Ms. Baker said she

was “going to keep all sectors in the current ABM analysis for the first motion” and

review a second motion that would apply “only to the Am 80 sector.” NOAA035113. In

the second email (to Glenn Merrill, NMFS’s Assistant Regional Administrator for

Sustainable Fisheries), Ms. Baker explained that the “second motion” would request a

“discussion paper to evaluate abundance based halibut PSC management approaches for

the Amendment 80 sector.” NOAA035136; see also NOAA035120. Mr. Merrill

responded the next morning, clearly surprised and concerned. NOAA035136. Ms. Baker

says that “[t]here’s a reason we need to do it, can discuss later.” Id. Mr. Merrill responds:

“Why do we need to do this now? What is the goal?” Id. Neither the “reason” nor the

“decision” mentioned by Ms. Baker is disclosed anywhere in the record.

       In the morning of the February 1, 2020 Council meeting, the Council’s Advisory

Panel presented a motion recommending narrowing the 16 multi-sector alternatives to

four multi-sector alternatives (consistent with the December 2019 meeting discussion).

NOAA043143-46; NOAA053003 at 08:12 a.m. The motion explained that it “is in direct

response to the Council’s request for stakeholders to provide input on additional

management alternatives that serve to streamline the action,” “is responsive to public



       9
         Ms. Baker, who serves as Alaska’s designated “principal State official” (16
U.S.C. § 1852(b)(1)(A)), and the five additional Council members “appointed from the
State of Alaska” (16 U.S.C. § 1852(a)(1)(G)) comprise a voting majority on the Council.

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comment,” and “drops alternatives that are no longer relevant and/or do not meet Council

objectives.” NOAA043144. During discussions, a longline representative suggested

streamlining the action by removing his sector. That was met with laughter. See

NOAA053003 at 2:00:30-3:04:35.

       After a break, Ms. Baker, despite her prior reservations that it was not “the right

thing to do,” presented a motion to eliminate all multi-sector alternatives and replace

them with four alternatives focusing solely on the Amendment 80 sector because that

sector has “60%” of the bycatch mortality. NOAA053003 at 3:27:36-3:39:20;

NOAA043187 (motion). Mr. Merrill responded (as quoted supra at 8) that he was

“concerned” about narrowing the action to leave out “the other 40%,” which would

require the Council to “reexamine whether or not our purpose and need statement is still

appropriate.” NOAA053003 at 3:46:30. But after only 15 minutes of additional

discussion—none of which involved the viability of multi-sector alternatives—the motion

passed unanimously. NOAA053003 at 4:02:30.

       In October 2020—eight months after deciding to narrow the alternatives to the

Amendment 80 sector—the Council changed the purpose and need statement to match

those new alternatives. NOAA044492-93. Even Intervenor Central Bering Sea

Fishermen’s Association complained about this backwards process: “we did not advocate

for removing the other sectors” and the “reduced scope” also “reduces the overall

effectiveness.” NOAA003346-47 (emphasis omitted).

       This account confirms that NMFS’s responsive arguments contradict the record.

There was no “public testimony” (NMFS Br. at 28) or “meaningful dialogue” (id. at 27)

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informing the decision to single out the Amendment 80 sector. The public was only asked

for ways to streamline the multi-sector alternatives. The Amendment 80-only idea was

presented to and voted on by the Council “without notice” to the public and based on

cryptic non-public decisions and reasons that are not disclosed in the record.

NOAA035110.

       NMFS also did not eliminate all multi-sector alternatives because they were “too

complex,” as it now argues. NMFS Br. at 29. Section 2.8 of the EIS (“Alternatives

considered but not carried forward for analysis”) states that NMFS dropped

“[a]lternatives that apply to all groundfish fishing sectors” “because [sic] Amendment 80

sector comprises the majority of halibut PSC mortality.” NOAA004662; see

NOAA043184 (same reason for “exclusive” focus on Amendment 80 sector). But this

explanation does not say why a multi-sector alternative was not viable. Nor could it. The

Amendment 80 sector had an even greater proportion of halibut PSC limits before

Amendment 111, but Amendment 111 still evaluated viable multi-sector alternatives. The

existence of a viable but unexamined alternative renders the EIS inadequate. City of Los

Angeles v. Fed. Aviation Admin., 63 F.4th 835, 844 (9th Cir. 2023). 10

       NMFS did retrofit the purpose and need statement to match the narrowed

alternatives. That occurred in October 2020—eight months after the February 2020


       10
          The complexity referenced by NMFS regards the method for calculating PSC
limits and projecting alternative impacts, not the inclusion of multiple sectors. That
complexity was fixed by dropping “complex multi-dimensional control rules” and instead
using a “look up table” to set PSC limits. NOAA004662. There is no record explanation
for why this simplified method could not have been applied to multiple sectors. Besides,
mere complexity does not mean an alternative is not viable.

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decision to eliminate all multi-sector alternatives. This is not a “normal result of the

scoping process” (NMFS Br. at 27). Westlands Water Dist. v. U.S. Dep’t of Interior, 376

F.3d 853, 865 (9th Cir. 2004) (scope of alternatives are derived from purpose and need).

       And, the retrofitted purpose and need statement is unlawful anyway because it

forecloses the consideration of any multi-sector alternatives, making the decision to

single out the Amendment 80 sector “‘a foreordained formality.’” Nat’l Parks &

Conservation Ass’n v. Bureau of Land Mgmt., 606 F.3d 1058, 1070 (9th Cir. 2010). This

confined the scope of action alternatives to effectively one: reducing only the

Amendment 80 sector’s PSC limit. NMFS was also not faced with a “unique problem”

(NMFS Br. at 28 n.11, 29) given that (i) it had recently completed Amendment 111,

which examined several multi-sector alternatives, and (ii) 16 different multi-sector

alternatives had already been developed (but later entirely deleted) in the Amendment

123 process. In short, NMFS violated NEPA.

                                   III. CONCLUSION

       For the reasons stated above and in Plaintiff’s opening brief, Amendment 123, the

associated final rule and implementing regulations, and the EIS are arbitrary, capricious,

and contrary to law, and should be vacated. Defendants argue for no exceptions to the

default remedy of vacatur. Nor could they: vacatur will simply result in reinstating the

status quo that existed under the lawful Amendment 111.




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       DATED: August 1, 2024.          STOEL RIVES LLP


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                            CERTIFICATE OF SERVICE

      I hereby certify that on August 1, 2024, I filed a true and correct copy of the

foregoing document with the Clerk of the Court for the United States District Court,

District of Alaska by using the CM/ECF system, which will electronically serve a copy of

the foregoing on counsel of record.


                                           /s/ Ryan P. Steen
                                           Ryan P. Steen, AK Bar No. 0912084




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